                                   Case 8:23-ap-01046-SC     Doc 80 Filed 06/30/23 Entered 06/30/23 12:11:05   Desc
                                                              Main Document    Page 1 of 5



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                                       LOCKE LORD LLP
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                                   5   Los Angeles, CA 90071
                                       Telephone: (213) 485-1500
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                                       Facsimile: (213) 485-1200
                                   7
                                       Attorneys for Defendant
                                   8
                                       MARICH BEIN, LLC
                                   9
                                                           UNITED STATES BANKRUPTCY COURT
                                  10
                                                             CENTRAL DISTRICT OF CALIFORNIA
                                  11
                                                                    SANTA ANA DIVISION
                                  12
                                       In re:                                   )   Case No. 8:23-bk-10571-SC
300 S. Grand Avenue, Suite 2600




                                  13                                            )
    Los Angeles, CA 90071




                                                                                    Hon. Scott C. Clarkson
                                       THE LITIGATION PRACTICE GROUP, ))
       Locke Lord LLP




                                  14
                                       PC,                                      )   Chapter 11
                                  15                                            )
                                                                                )   Adversary No. 8:23-ap-01046-SC
                                  16                           Debtor.
                                                                                )   NOTICE OF APPEARANCE
                                  17                                            )
                                       ____________________________________ )       OF COUNSEL FOR
                                  18                                            )   DEFENDANT MARICH BEIN,
                                       RICHARD A. MARSHACK,                     )   LLC
                                  19   Chapter 11 Trustee                       )
                                                                                )
                                  20                           Plaintiff,       )   Amended Complaint Filed: June
                                             vs.                                )   15, 2023
                                  21                                            )
                                       TONY DIAB, an individual; DANIEL S.      )
                                  22                                            )
                                       MARCH, an individual; ROSA BIANCA        )
                                  23   LOLI, an individual; LISA COHEN, an      )
                                  24   individual; WILLIAM TAYLOR CARSS, an )
                                       individual; ENG TAING, an individual;    )
                                  25                                            )
                                       HENG TAING, an individual; MARIA         )
                                  26   EEYA TAN, an individual; JAKE AKERS, )
                                       an individual; HAN TRINH, an individual; )
                                  27   JAYDE TRINH, an individual; WES          )
                                                                                )
                                  28
                                       133679209                               1
                                                NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT MARICH BEIN, LLC
                                   Case 8:23-ap-01046-SC    Doc 80 Filed 06/30/23 Entered 06/30/23 12:11:05   Desc
                                                             Main Document    Page 2 of 5



                                   1   THOMAS, an individual; SCOTT JAMES )
                                       EADIE, an individual; JIMMY CHHOR, an )
                                   2                                         )
                                       individual; DONGLIANG JIANG, an       )
                                   3   individual; MAX CHOU, an individual;  )
                                       OAKSTONE LAW GROUP PC; GREYSON )
                                   4
                                       LAW CENTER PC; PHOENIX LAW, PC; )
                                   5   MAVERICK MANAGEMENT GROUP,            )
                                                                             )
                                       LLC; LGS HOLDCO, LLC; CONSUMER )
                                   6
                                       LEGAL GROUP, P.C.; VULCAN             )
                                   7   CONSULTING GROUP LLC; BAT INC. )
                                       d/b/a COAST PROCESSING; PRIME         )
                                   8                                         )
                                       LOGIX, LLC; TERACEL BLOCKCHAIN )
                                   9   FUND II LLC; EPPS; EQUIPAY;           )
                                       AUTHORIZE.NET; WORLD GLOBAL;          )
                                  10
                                       OPTIMUMBANK HOLDINGS, INC. d/b/a )
                                                                             )
                                  11   OPTIMUM BANK; MARICH BEIN, LLC; )
                                  12   BANKUNITED, N.A.; REVOLVE3, INC.; )
                                       FIDELITY NATIONAL INFORMATION )
300 S. Grand Avenue, Suite 2600




                                                                             )
                                  13   SERVICES, INC. d/b/a FIS; WORLDPAY, )
    Los Angeles, CA 90071




                                       LLC; WORLDPAY GROUP; MERIT            )
       Locke Lord LLP




                                  14
                                       FUND, LLC; GUARDIAN PROCESSING, )
                                                                             )
                                  15   LLC; PAYLIANCE, LLC; TOUZI            )
                                  16   CAPITAL, LLC; SEAMLESS CHEX INC; )
                                       DWOLLA, INC.; STRIPE, INC.; and DOES )
                                  17                                         )
                                       1 through 100, inclusive,             )
                                  18                                         )
                                                                 Defendants. )
                                  19                                         )
                                                                             )
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                                       133679209                            2
                                             NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT MARICH BEIN, LLC
                                   Case 8:23-ap-01046-SC      Doc 80 Filed 06/30/23 Entered 06/30/23 12:11:05     Desc
                                                               Main Document    Page 3 of 5



                                   1          NOTICE IS HEREBY GIVEN, that pursuant to Fed. R. Bankr. P. 9010(b),
                                   2   Locke Lord LLP hereby appears as counsel for defendant Marich Bein, LLC with
                                   3   respect to the above-captioned adversary proceeding filed by plaintiff Richard A.
                                   4   Marshack, Chapter 11 Trustee.
                                   5          NOTICE IS FURTHER GIVEN, that all notices, communications, and other
                                   6   materials given or required to be given in this adversary proceeding by the Court and
                                   7   from other parties, including all papers filed and served, should be directed to and
                                   8   served upon:
                                   9          David S. Kupetz, Esq.
                                              LOCKE LORD LLP
                                  10
                                              300 S. Grand Ave., Suite 2600
                                  11          Los Angeles, CA 90071
                                              Telephone: (213) 485-1500
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300 S. Grand Avenue, Suite 2600




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    Los Angeles, CA 90071
       Locke Lord LLP




                                  14
                                              and
                                  15
                                              William C. Mullen, Esq.
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                                              LOCKE LORD LLP
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                                  20          Email: william.mullen@lockelord.com

                                  21
                                  22
                                       Dated: June 30, 2023                        Respectfully submitted,
                                  23
                                                                                   LOCKE LORD LLP
                                  24
                                  25                                               By:/s/ David Kupetz
                                                                                      David Kupetz
                                  26                                                  William Mullen
                                  27                                                  Attorneys for Defendant
                                                                                      MARICH BEIN, LLC
                                  28
                                       133679209                               3
                                             NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT MARICH BEIN, LLC
        Case 8:23-ap-01046-SC                      Doc 80 Filed 06/30/23 Entered 06/30/23 12:11:05                                      Desc
                                                    Main Document    Page 4 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
300 South Grand Avenue, Suite 2600, Los Angeles, CA 90071


A true and correct copy of the foregoing document entitled (specify):
NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT MARICH BEIN, LLC


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 30, 2023       , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 30, 2023       , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
JUDGE'S COPY - BY OVERNIGHT MAIL
The Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


June 30, 2023                  Kristina M. Koch
 Date                          Printed Name                                                     Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case 8:23-ap-01046-SC                     Doc 80 Filed 06/30/23 Entered 06/30/23 12:11:05                                      Desc
                                                    Main Document    Page 5 of 5



1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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        Jonathan Serrano                   jonathan.serrano@dinsmore.com
        Andrew Still              astill@swlaw.com, kcollins@swlaw.com
        United States Trustee (SA)                       ustpregion16.sa.ecf@usdoj.gov
        Johnny White JWhite@wrslawyers.com,
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
